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           IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                       Plaintiff,

     Vs.                                       No. 07-40101-01-SAC

JOEL LEOBARDO MARTINEZ,

                       Defendant.


                      MEMORANDUM AND ORDER

            The case comes before the court on the defendant’s one

unresolved objection to the Presentence Report (“PSR”) as reflected in its

addendum and addressed in the defendant’s sentencing memorandum

(Dk. 60). The defendant objects to the denial of a minor role adjustment.

The defendant describes his involvement in the offense of conviction as

only the driver of a vehicle which contained drugs and was traveling from

Phoenix, Arizona, to Philadelphia, Pennsylvania. The defendant says he

had no expectation of profiting from the drugs that would be eventually

distributed. The defendant further denies being involved in planning the

trip, packaging the drugs, purchasing the drugs, financing the operation, or

negotiating the transaction.

            Based on the precedent from this court and the facts as
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presented in the defendant’s post-arrest statement and summarized in the

PSR, the court sustains the defendant’s objection. While there may be

inconsistencies between the post-arrest statements given by the defendant

and his co-defendant Hernandez-Lopez, the court finds the defendant’s

statement to be credible and the inconsistencies to not be of such a kind

and quality as to warrant denying the minor role adjustment.

            The defendant appears to have no other role than to drive the

car that had been loaded with drugs about which he did not know their kind

or quantity. Recruited to drive the car, the defendant was furnished with

the documents to register the car in his name and was to be paid just

$2,000 for his role. The defendant’s cooperation was secured by a threat

to harm the defendant’s parents. The defendant was not trusted to perform

his role, as he was followed by others during the trip. The defendant did

not help package or load the drugs. Nor is there anything in the

defendant’s criminal history or in his post-arrest statement to indicate that

he possessed any particular knowledge, experience, or contacts as to

make his participation uniquely important to this delivery or uniquely

different from a person having only a minor role in a drug trafficking

conspiracy. The court sustains the defendant’s objection.


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           With the minor role adjustment, the guideline calculations

change to a base offense level of 31 less the minor role adjustment and

acceptance of responsibility adjustment for a total offense level of 26. The

guideline range is now 70 to 87 months.

           IT IS THEREFORE ORDERED that the defendant’s pending

objection to the Presentence Report is sustained.

           Dated this 22nd day of July, 2008, Topeka, Kansas.



                       s/ Sam A. Crow
                       Sam A. Crow, U.S. District Senior Judge




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